UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

               v.                             23 Cr. 113 (GHW)

 JAMES KELLY,

                      Defendant.




                    GOVERNMENT’S MEMORANDUM OF LAW
              IN OPPOSITION TO DEFENDANT’S MOTIONS IN LIMINE




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                                PRELIMINARY STATEMENT

       The Government respectfully submits this memorandum of law in opposition to defendant

James Kelly’s motions in limine (“Def. Br.”). First, the defendant’s request to preclude cross-

examination about the defendant’s prior 2013 conviction for criminal possession of a loaded

firearm is premature. The Government currently anticipates impeaching the defendant with that

conviction only if he testifies at trial in a manner inconsistent with the prior conviction. At that

point, the defendant’s credibility will be central, making the prior conviction’s existence highly

probative of the defendant’s truthfulness and not unfairly prejudicial. Second, the defendant’s

identification by New York City Police Department (“NYPD”) Officer Joseph Whelan was not

unduly suggestive because it was a confirmatory identification from surveillance footage after

Officer Whelan had already had a twenty-five minute, direct, in-person encounter with the

defendant approximately one-and-a-half months earlier.              Moreover, Officer Whelan’s

identification was clearly independently reliable. 1     Any potential prejudice caused by the

identification is minimal, does not come close to outweighing the probative value of the

identification, and can be eliminated through appropriate limiting instructions by the Court. Third,

there is no basis to preclude any in-court identification of the defendant by Officer Whelan or by

any other potential Government witness at trial at this juncture. Accordingly, all of the defendant’s

motions in limine should be denied.



       1
           The defense has not requested a factual hearing relating to Officer Whelan’s
identification, nor is any such hearing warranted given that there are no disputed material facts.
See, e.g., United States v. Noble, No. 07 Cr. 284 (RJS), 2008 WL 140966, at *1 (S.D.N.Y. Jan. 11,
2008) (“A defendant is entitled to an evidentiary hearing on a motion to suppress only if the
defendant establishes a contested issue of material fact.”). If the moving papers do not create a
genuine dispute as to any material fact, the court can decide the matter on the factual record
established by the papers. See United States v. Caming, 968 F.2d 232, 236 (2d Cir. 1992); United
States v. Martinez, 992 F. Supp. 2d 322, 325-26 (S.D.N.Y. 2014).
                                  FACTUAL BACKGROUND

       Defendant James Kelly is charged with committing a Hobbs Act robbery of a deli store in

the Bronx on January 15, 2023, in violation of 18 U.S.C. § 1951, and with brandishing a firearm

in furtherance of that robbery, in violation of 18 U.S.C. § 924(c)(1)(A)(i) and (ii) (Dkt. 9).

       As set forth in more detail in the Government’s motions in limine (Dkt. 50 at 5–8),

incorporated by reference herein, prior to the charged Hobbs Act robbery, the defendant was

involved in prior incidents with two other deli stores within about a five-minute walking distance

of the deli store he robbed on January 15, 2023. Specifically, on December 5, 2022, the NYPD

received a report that an individual had stolen money from a deli store in the Bronx, near the Bronx

Zoo. In connection with the December 5, 2022 incident, NYPD officer Joseph Whelan and others

arrested the defendant later that day, while he was standing near the area outside of the deli store

that had reported the incident. As captured on the officers’ body camera footage of the defendant’s

arrest and subsequent booking at the NYPD precinct, Officer Whelan directly interacted and

communicated with the defendant over a period of approximately twenty-five minutes between

the arrest and booking. During this encounter, Officer Whelan was able to observe from multiple

angles the defendant’s unobscured face, his body type, his clothing and accessories, how he moved

and carried himself, and how he walked. The defendant was outspoken and appeared displeased

during parts of the arrest and booking, but was also calm at other points, which allowed Officer

Whelan to see and hear a range of emotional states of the defendant, along with the defendant’s

voice and manner of communicating.

       On January 15, 2023, approximately one month after Kelly’s December 5, 2022 arrest, he

committed the gunpoint robbery charged in the instance case. Specifically, the defendant robbed

at gunpoint a deli store located diagonally across the street from the deli store that the defendant


                                                  2
targeted the prior month. Officer Whelan was not involved in investigating the January 15, 2023

robbery, but other NYPD detectives and officers in his precinct were. As part of the investigation,

one of those NYPD detectives (the “Investigating Detective”) obtained multiple surveillance

videos of the robber and where he went immediately after the January 15, 2023 robbery. Those

videos showed that the robber openly carried a handgun inside the deli store to commit the January

15, 2023 robbery, with his face, head, and body entirely covered. He then walked out of the store,

crossed the street, and entered a gated area surrounding a residential apartment building located at

820 East 180th Street, which is less than 250 feet from the robbed deli store. While wearing the

same clothing from the January 15, 2023 robbery, the defendant entered a stairwell of that building,

changed clothing, removed his face mask, and then walked up seven flights of stairs in that

stairwell, before exiting on the seventh floor and using a key to enter apartment 7U. During the

period that the robber entered the gated area of the building and entered and exited the building’s

stairwell, no other individual entered or exited. Although there is no security camera on the ground

floor of the stairwell—and thus no images of the robber changing out of the robbery clothing—

there are cameras on every subsequent floor that captured the robber walking up the seven flights

of stairs, exiting the stairwell, and entering apartment 7U on the seventh floor.

       After the Investigating Detective obtained and reviewed the surveillance videos of the

robber in the immediate aftermath of the January 15, 2023 robbery, he shared them with some of

his colleagues (but not Officer Whelan, who was in a different unit at the precinct), to see if they

recognized the robber. Multiple colleagues expressed that the videos appeared to depict the

defendant, who was familiar to the precinct’s officers. The Investigating Detective looked up the

defendant’s history and other information in law enforcement databases and saw that Officer

Whelan had arrested the defendant most recently, on December 5, 2022.


                                                 3
       On or about January 25, 2023, the Investigating Detective called Officer Whelan to an

office at the precinct and showed him videos of the robber, unmasked, walking in the stairwell of

820 East 180th Street (the “Stairwell Videos”). He did not show Officer Whelan the videos of the

robbery itself. Neither the Investigating Detective nor anyone else supplied to Officer Whelan any

context for or reasons why the videos were being shown to him, nor did anyone provide any

information about who was believed to be in the Stairwell Videos. The Investigating Detective

simply told Officer Whelan that he was going to show him a couple videos to see if he recognized

a person or not. After seeing one of the first few videos, Officer Whelan identified the person in

the stairwell as “James Kelly.” Both Officer Whelan and the Investigating Detective separately

reported in recent interviews with the Government that Officer Whelan seemed confident in the

identification. The Investigating Detective then created a still image of the approximate point of

the video at which Officer Whelan made the identification, and Officer Whelan signed the still

image. After the identification, the Investigating Detective did not speak with Officer Whelan

further about the case, the videos, or the individual identified. Officer Whelan’s only involvement

in the investigation of the January 15, 2023 robbery was his identification from viewing the

Stairwell Videos.2

                                          ARGUMENT

       The defendant seeks to preclude three categories of evidence in his motions in limine,

namely (1) cross-examination of the defendant relating to his 2013 conviction for criminal




       2
         On November 22, 2023, the Government briefly interviewed Officer Whelan and the
Investigating Detective separately by phone about the identification that occurred on January 25,
2023. The Government produced its notes of these two calls to defense counsel that same day.


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possession of a loaded firearm, (2) NYPD Officer Whelan’s out-of-court identification of the

defendant from the Stairwell Videos, and (3) any in-court identification of the defendant by Officer

Whelan or any other witness presented by the Government. For the reasons explained below, all

three of those requests should be denied.

   I. The Court Should Permit the Government to Cross-Examine the Defendant About His
   Prior Felony Conviction if the Defendant Testifies in a Manner Inconsistent With His
   Prior Conviction

       The defendant moves in limine under Rule 609 of the Federal Rules of Evidence to bar the

Government from cross-examining him regarding his 2013 conviction for possession of a loaded

firearm. The Court should deny the defendant’s request.

       First, the defendant’s motion is premature given that the Government has not moved to

admit extrinsic evidence of the defendant’s prior felony conviction to impeach his character for

truthfulness in general under Rule 609.3 Federal Rule of Evidence 609 governs the “rules [that]

apply to attacking a witness’s character for truthfulness by evidence of a criminal conviction.” Fed

R. Evid. 609. For felony convictions that occurred within ten years of the defendant’s trial, Rule

609(a)(1) provides that evidence of a criminal conviction “must be admitted in a criminal case in

which the witness is a defendant, if the probative value of the evidence outweighs its prejudicial

effect to that defendant.” Fed R. Evid. 609(a)(1)(B).4 In determining whether “the probative value




       3
          By letter dated November 13, 2023, the Government notified defense counsel that the
Government may introduce evidence of the defendant’s prior 2013 felony conviction, citing Rules
609(a)(1) and 404(b) of the Federal Rules of Evidence. The following week, the Government filed
its motions in limine, which did not address or seek to admit the defendant’s 2013 conviction. As
set forth herein, at present, the Government only intends to impeach the defendant with this prior
conviction if he testifies at trial in a manner inconsistent with this prior conviction.
       4
         While the defendant attempts to rely, in part, on advisory notes underlying Rule 609(b)
of the Federal Rules of Evidence, the defendant properly concedes that Rule 609(b), which governs
the admissibility of prior convictions that are greater than ten years old, “does not apply” here,
                                                 5
of [a prior conviction punishable by death or more than one year of imprisonment] outweighs its

prejudicial effect to [the] defendant” under Rule 609(a)(1)(B), district courts are guided by several

factors, including: (1) the impeachment value of the prior crime; (2) the date of the conviction and

the witness’s subsequent history; (3) the similarity between the past crime and the charged crime;

(4) the importance of the defendant’s testimony; and (5) the centrality of the credibility issue.

United States v. Hayes, 553 F.2d 824, 828 (2d Cir. 1977) (citations omitted). The burden is on the

Government to show that the probative value of a prior conviction outweighs its prejudicial effect.

Id. at 828. When evidence of a prior conviction is admitted, the presumption is that only the

“essential facts” of the prior conviction—which include “the statutory name of each offense, the

date of conviction, and the sentence imposed”—will be admitted for purposes of impeachment.

United States v. Estrada, 430 F.3d 606, 615–16 (2d Cir. 2005).

       The defendant’s motion rests on a fundamental misapplication of Rule 609. Rule 609

applies only where the government seeks “to impeach [the defendant’s] character for truthfulness

in general,” and not—as applicable here—where the government only “intend[s] to introduce the

conviction to contradict specific testimony offered by [the defendant].” United States v. Frazier,

No. S6 15 Cr. 153 (VSB), 2019 WL 761912, at *8 (S.D.N.Y. Feb. 21, 2019); see also United States

v. Lopez, 979 F.2d 1024, 1033 (5th Cir. 1992) (“The fundamental problem with the application of

. . . Rule 609 is that [the rule does not apply] in determining the admissibility of relevant evidence

introduced to contradict a witness’s testimony as to a material issue.”). Here, the defendant’s

motion is premature, given that the Government has made no such application under Rule 609.

Therefore, the Court should deny the defendant’s request.



where the defendant’s sentence concluded in February of 2016, well within the Rule’s ten-year
period. See Def. Br. at 2.
                                                  6
       Second, and as the defendant concedes, Rule 609 does not function as a bar to the

government’s cross-examining the defendant if the defendant “should take the stand and

affirmatively claim that he has never been in trouble with the law before . . .” Def. Br. at 3. In the

event the defendant testifies in a manner that contradicts the facts underlying his criminal

conviction, the Government should be permitted to cross-examine the defendant using, among

other things, the underlying facts of his prior felony conviction. “A defendant has no right to avoid

cross-examination into the truth of his direct examination, even as to matters not related to the

merits of the charges against him.” United States v. Payton, 159 F.3d 49, 58 (2d Cir. 1998).

“Where a defendant testifies on direct about a specific fact, the prosecution is entitled to prove on

cross-examination that he lied as to that fact.” United States v. Beverly, 5 F.3d 633, 639–40 (2d

Cir. 1993) (where defendant testified that he had no familiarity with guns, he opened the door to

impeachment by evidence of several prior incidents in which he allegedly possessed and used

firearms); see also United States v. Mesbahuddin, No. 10 Cr. 726, 2011 WL 3841385, at *2

(E.D.N.Y. Aug. 26, 2011) (granting government’s motion to cross-examine the defendant

regarding the “underlying facts” of a prior conviction if the defendant “‘open[ed] the door’ by

testifying ‘in a manner that contradict[ed] his criminal history’”) (internal citations omitted).

       Therefore, given that the Government currently anticipates impeaching the defendant with

the prior conviction only if he testifies at trial in a manner inconsistent with this prior conviction,

the Court should deny the defendant’s motion.




                                                  7
   II. There Is No Basis to Suppress Officer Whelan’s Identification of the Defendant

       A. Officer Whelan’s Confirmatory Identification of the Defendant Is Reliable

           1. Applicable Law

       As a general matter, the Constitution “protects a defendant against a conviction based on

evidence of questionable reliability, not by prohibiting introduction of the evidence, but by

affording the defendant means to persuade the jury that the evidence should be discounted as

unworthy of credit.” Perry v. New Hampshire, 565 U.S. 228, 237 (2012). Witness identifications

should therefore be excluded only where “improper police conduct” occurred that was “so

unnecessarily suggestive as to give rise to a very substantial likelihood of irreparable

misidentification.” Id. at 238; see Manson v. Brathwaite, 432 U.S. 98, 113 (1977); Simmons v.

United States, 390 U.S. 377, 384–85 (1968).           Outside of those narrow circumstances, the

“Draconian sanction” of exclusion may not be considered, and the reliability of the identification

evidence is for the jury to weigh. Perry, 565 U.S. at 239.

       Federal courts follow a two-pronged analysis in ruling on the admissibility of identification

evidence. Perry, 565 U.S. at 238–40; Brisco v. Ercole, 565 F.3d 80, 88 (2d Cir. 2009). First, the

defendant must show that the identification was “so unnecessarily suggestive and conducive to

irreparable mistaken identification that [the defendant] was denied due process of law.” United

States v. DiTommaso, 817 F.2d 201, 213 (2d Cir. 1987); see Raheem v. Kelly, 257 F.3d 122, 134

(2d Cir. 2001). That is a high threshold to meet, as the defendant must show, under the totality of

the circumstances, “a very substantial likelihood of irreparable misidentification.” United States

v. Maldonado-Rivera, 922 F.2d 934, 973 (2d Cir. 1990). If the defendant cannot make such a

showing, “the trial identification testimony is generally admissible without further inquiry into the

reliability of the pretrial identification. In that circumstance, any question as to the reliability of


                                                  8
the witness’s identification goes to the weight of the evidence, not its admissibility.”         Id.

Moreover, under such circumstances, the court need not even reach the second step of the analysis.

See, e.g., Sims v. Sullivan, 867 F.2d 142, 145 (2d Cir. 1989); Jarrett v. Headley, 802 F.2d 34, 42

(2d Cir. 1986) (“[I]f the procedures were not impermissibly suggestive, independent reliability is

not a constitutionally required condition of admissibility.”). Indeed, where there is no “improper

police conduct” in the identification procedure, the Due Process Clause does not regulate

admissibility at all, and determinations concerning reliability must be left to the jury. Perry, 565

U.S. at 238–40.

       Second, even an unduly suggestive identification procedure does not alone require

suppression of the identification evidence. See Brathwaite, 432 U.S. at 110–14. Instead, the court

must determine whether the identification evidence is nevertheless “independently reliable” based

on the totality of the circumstances. Brisco, 565 F.3d at 89; United States v. Simmons, 923 F.2d

934, 950 (2d Cir. 1991); Brathwaite, 432 U.S. at 114. Among the factors to be considered are:

“the opportunity of the witness to view the criminal at the time of the crime, the witness’ degree

of attention, the accuracy of the witness’ prior description of the criminal, the level of certainty

demonstrated by the witness at the confrontation, and the length of time between the crime and the

confrontation.” Neil v. Biggers, 409 U.S. 188, 199–200 (1972). No single factor is dispositive.

United States v. Concepcion, 983 F.2d 369, 378 (2d Cir. 1992).

       Even where, as here, the identification at issue is by a law enforcement officer and not by

an eyewitness to a crime, the reliability of the identification remains the linchpin, and courts in

this Circuit still assess whether the identification procedure was unduly suggestive and, if so,

whether the identification nevertheless was independently reliable. See, e.g., United States v.

Brown, No. 20 Cr. 293 (WFK), 2022 WL 5189661, at *1–*2 (E.D.N.Y. Oct. 5, 2022) (involving

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a police officer’s identification from security videos); United States v. Stephenson, No. 20 Cr. 511

(AMD), 2021 WL 4972601, at *4 (E.D.N.Y. Oct. 26, 2021) (involving a parole officer’s

identification of the defendant from a surveillance still image).

           2. Discussion

       There is no basis to suppress Officer Whelan’s identification of the defendant as the

individual who committed the January 15, 2023 armed robbery of a deli store. Thus, Officer

Whelan should be permitted to testify about his prior identification and also make an in-court

identification of the defendant. The identification procedure was not impermissibly suggestive

because it was a confirmatory identification by Officer Whelan, who had had an extended, twenty-

five minute in-person interaction with the defendant in the month preceding the robbery, on

December 5, 2022. Moreover, the identification had clear independent reliability based on the

relevant factors.

       On January 25, 2023, Officer Whelan viewed and identified the defendant from

surveillance footage of the January 15, 2023 robber unmasked walking up the stairs of a residential

building shortly after the robbery had occurred. Prior to his review of the videos, no one told

Officer Whelan how the videos were obtained, why he was reviewing the videos, or who was

believed to be captured in the videos. Nor did the videos reflect any indication of criminal conduct.

Instead, Officer Whelan was simply asked to watch the videos to see if he recognized the person

or not. He was able to identify the defendant from the videos because in the preceding month,

Officer Whelan had arrested the defendant and taken the defendant to the precinct, where he was

booked. Through that arrest and subsequent booking—which together lasted approximately

twenty-five minutes—Officer Whelan interacted directly and extensively with the defendant. As

reflected in body camera footage of the December 5, 2022 arrest, Officer Whelan was able to see


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the defendant’s face unobscured, his facial expressions, his body, his build, and how he carried

himself, walked, and moved. Officer Whelan told the Government on a recent phone call that he

was able to identify the defendant from the Stairwell Videos because of his prior, then-recent

interaction with the defendant from the December 2022 arrest. He further noted that his arrest of

the defendant may have been the only arrest he had conducted for a period of months, which would

have made the arrest all the more memorable for him.

       Under these circumstances, Officer Whelan’s identification is plainly a confirmatory

identification and not the result of any improperly suggestive procedures. Courts in this Circuit

have routinely admitted such identifications. See, e.g., United States v. Nieves, No. 19 Cr. 354

(JSR), 2021 WL 1240472, at *3 (S.D.N.Y. Apr. 1, 2021) (“[C]ourts in this [C]ircuit have held that

identification procedures consisting of the display of a single photograph to a witness who states

that the witness already knows the perpetrator, in order to confirm the perpetrator’s identity, are

not unduly suggestive.”); United States v. Jimenez, No. 20 Cr. 122 (LTS), 2020 WL 7231062, at

*2 (S.D.N.Y. Dec. 8, 2020) (same); Brown, 2022 WL 5189661, at *2 (finding “no evidence to

suggest the identification process was improperly suggestive” where an officer who had prior

knowledge of the defendants subsequently identified the defendants from watching surveillance

video and had not been provided with the defendants’ names or details about the crimes before

reviewing the videos); Stephenson, 2021 WL 4972601, at *2 (admitting a parole officer’s

identification of the defendant from a surveillance image because the identification was

confirmatory and independently reliable given that the parole officer was previously familiar with

the defendant); United States v. Hardy, No. 10 Cr. 1123 (JSR), 2011 WL 7782582 (S.D.N.Y. Jan.




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25, 2011) (“Displaying a confirmatory photograph of a person the witness has indicated that he

already knows is perfectly acceptable.”).5

       Because Officer Whelan’s identification is not unduly or unnecessarily suggestive, the

Court need not determine whether the identification had independent reliability, see, e.g., Nieves,

2021 WL 1240472 at *3 n.5, Jimenez, 2020 WL 7231062, at *2, but assessment of the relevant

factors demonstrates overwhelmingly that the identification was independently reliable, see, e.g.,

United States v. Woodford, No. 18 Cr. 654 (KAM), 2019 WL 5457854, at *9 (E.D.N.Y. Oct. 23,

2019) (“[C]ourts have found witnesses sufficiently familiar with a suspect to render an

independently reliable identification after a single minutes-long interaction, notable interactions,

or conversations, and even after a year-long interval or longer.” (collecting cases)). During the

December 5, 2022 arrest, Officer Whelan had a close, direct, and unobstructed view of the

defendant, and Officer Whelan’s attention was on the defendant, both as the arresting officer, and

also because the defendant was not completely calm and cooperative throughout the arrest and

subsequent booking process. Both Officer Whelan and the Investigating Detective who showed

the Stairwell Videos to Officer Whelan reported that Officer Whelan was confident in his

identification, and only a short period of time—approximately one-and-a-half months—had

passed between Officer Whelan’s arrest of the defendant and his subsequent identification from




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         See also Gilbert v. Sup’t of Collins Corr. Fac., No. 03 Civ. 3866 (LBS), 2004 WL 287683,
at *8 (S.D.N.Y. Feb. 11, 2004); Watson v. City of N.Y., 289 F. Supp. 3d 398, 408-09 (E.D.N.Y.
2018); United States v. Ramos-Cruz, No. 11 Cr. 151-A, 2014 WL 9931353, at *2 (W.D.N.Y. July
15, 2014); Franco v. Lee, No. 12 Civ. 1210 (SJF), 2013 WL 704655, at *10 (E.D.N.Y. Feb. 26,
2013); United States v. Donald, No. 07 Cr. 6208L, 2009 WL 960209, at *1 (W.D.N.Y. Apr. 7,
2009); Stallings v. Wood, No. 04 Civ. 4714 (RLM), 2006 WL 842380, *11 (E.D.N.Y. Mar. 27,
2006); United States v. Harris, No. 12 Cr. 65, 2018 WL 1517216, at *18 (D. Vt. Feb. 27, 2018).
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       B. Officer Whelan’s Identification of the Defendant Is Highly Probative and
       Minimally Prejudicial

       Besides challenging the reliability of Officer Whelan’s identification, the defendant also

claims that the identification is unduly prejudicial and must be suppressed under Federal Rule of

Evidence 403. That argument fails as well. As set forth in Section II of the Government’s motions

in limine (Dkt. 50 at 17–20), incorporated herein by reference, the Government seeks to admit only

limited, neutral evidence of Officer Whelan’s December 5, 2022 encounter with the defendant to

provide context for how he knew the defendant and was therefore subsequently able to identify

him from the Stairwell Videos, without disclosing the fact that the December encounter was in the

context of an arrest for another incident involving a nearby deli store. Because the identity of the

perpetrator of the charged January 15, 2023 robbery is being disputed by the defense, see Def. Br.

at 3 (“Identification is a contested issue in this case.”), Officer Whelan’s identification of the

defendant is highly probative and not even close to being substantially outweighed by unfair

prejudice, as required for exclusion under Rule 403.7




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          The defendant argues that the probative value of Officer Whelan’s identification is low
because the jury can view the stairwell footage themselves, Def. Br. at 5, but unlike the jury, who
will primarily view the defendant only while he is seated at counsel table during trial, Officer
Whelan was able to much more extensively observe how the defendant walked, moved, and carried
himself, as well as see the defendant’s face from multiple angles and with different facial
expressions from his extended December 5, 2022 encounter with the defendant. Furthermore,
Officer Whelan’s identification will be helpful to the jury because in the Stairwell Videos, the
defendant generally does not look directly at the camera. See, e.g., United States v. Walker, 974
F.3d 193, 205-06 (2d Cir. 2020) (affirming admission of a probation officer’s identification of the
defendant from a video under Rule 701 where the video was not crystal clear, among other things);
United States v. Arroyo, 600 F. App’x 11, 15 (2d Cir. 2015) (upholding the admission of
identification testimony because it was “based on factors that the jury did not possess, namely [the
witness’s] familiarity with [the defendant’s] manner of dress, gait, and demeanor”). In addition,
Officer Whelan’s identification is highly probative here because, at present, no other out-of-court
identification of the defendant has been made in connection with the charged robbery.
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       The Second Circuit has repeatedly stated that evidence is not unduly prejudicial under Rule

403 when it is not “more inflammatory than the charged crime[s].” United States v. Livoti, 196

F.3d 322, 326 (2d Cir. 1999); United States v. Rahim, 339 F. App’x 19, 23 (2d Cir. 2009)

(introduction of 404(b) evidence not prejudicial because “the evidence was not more sensational

than the evidence of the charged crime”); United States v. Roldan-Zapata, 916 F.2d 795, 804 (2d

Cir. 1990) (introduction of 404(b) evidence not prejudicial where it “did not involve conduct any

more sensational or disturbing than the crimes with which [the defendant] was charged”).

Moreover, courts have regularly admitted 404(b) evidence where any potential prejudice could be

addressed through a limiting court instruction. See, e.g., United States v. Williams, 205 F.3d 23,

33–34 (2d Cir. 2000) (finding “no undue prejudice under Rule 403; the evidence did not involve

conduct more serious than the charged crime and the district court gave a proper limiting

instruction”); see also United States v. Williams, 526 F. App’x 29, 35 (2d Cir. 2013) (approving

district court’s admission of Rule 404(b) evidence and noting that “the court administered an

appropriate limiting instruction, telling the jury that the evidence could only be considered with

respect to the issue of knowledge or intent”).

       Here, the Government intends to introduce evidence of Officer Whelan’s December 5,

2022 encounter with the defendant in a neutral and limited manner that elicits only the necessary

factual foundation to establish why Officer Whelan knew the defendant and could identify the

defendant from the Stairwell Videos. In order to provide that context and to allow a jury to assess

Officer Whelan’s credibility and the reliability of his identification, the Government anticipates

offering testimony that Officer Whelan had a sustained, close, direct, in-person interaction with

the defendant that lasted approximately twenty-five minutes, during which the officer could clearly

observe from different angles the defendant’s face, head, facial expressions, clothing, build,


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posture, body movements, and gait, and how the defendant carried himself. The Government does

not intend to elicit the fact that the interaction was in the context of an arrest nor any facts

surrounding the underlying incident with the deli store on December 5, 2022 that led to the

defendant’s arrest.

       Under these circumstances, there is minimal prejudice from introducing evidence of

Officer Whelan’s identification of the defendant, and any potential for prejudice can be eliminated

through appropriate limiting instructions by the Court directing the jury not to consider the

evidence for any impermissible purpose and not to speculate about the reasons for or nature of

Officer Whelan’s interaction with the defendant. See, e.g., Williams, 205 F.3d at 33–34 (affirming

admission of the defendant’s prior uncharged criminal conduct because it was relevant “to

complete the story of the crimes charged,” and finding “no undue prejudice under Rule 403” where

“the evidence did not involve conduct more serious than the charged crime and the district court

gave a proper limiting instruction”); Williams, 526 F. App’x at 35 (affirming admission of

defendant’s prior firearms conviction and finding “very little risk of unfair prejudice” in light of,

among other things, the court’s providing an appropriate limiting instruction); United States v.

Bermudez, 529 F.3d 158, 161–63 (2d Cir. 2008) (affirming admission of officer’s testimony that

he overheard the defendant’s drug-related comments because the officer’s credibility and account

of events “was at the heart of the case” and any unfair prejudice was minimized by the Court’s

detailed limiting instructions); United States v. Graziano, 558 F. Supp. 2d 304, 319–23 (E.D.N.Y.

2008) (admitting evidence of a series of interactions between the defendant and the victim in the

years before the charged arson at issue because such evidence was “critical” for the jury’s

assessment of intent and motive, and any unfair prejudice could be addressed through a limiting

instruction); United States v. Tussa, 816 F.2d 58, 68 (2d Cir. 1987) (limiting instruction sufficient


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to eliminate prejudice to defendant); see generally Parker v. Randolph, 442 U.S. 62, 75 n.7 (1979)

(“The ‘rule’—indeed, the premise upon which the system of jury trials functions under the

American judicial system—is that juries can be trusted to follow the trial court’s instructions.”);

United States v. Morales, 505 F. App’x 30, 35–36 (2012); United States v. Snype, 441 F.3d 119,

129–30 (2d Cir. 2006).

       Moreover, the fact of the defendant’s prior encounter with Officer Whelan on December

5, 2022 is in no way more inflammatory or sensational than the defendant’s charged crime of

committing a gunpoint robbery. See Livoti, 196 F.3d at 326 (evidence not unduly prejudicial under

Rule 403 when it is not “more inflammatory than the charged crime”); Rahim, 339 F. App’x at 23

(2d Cir. 2009) (evidence not prejudicial where it “was not more sensational than the evidence of

the charged crime”); Roldan-Zapata, 916 F.2d at 804 (similar). The defendant seems to claim that

the mere fact that he had an extended, prior in-person interaction with a law enforcement officer

creates undue prejudice warranting suppression, see Def. Br. at 4–5, but that is not true. There are

countless innocent contexts in which an individual could have an extended, in-person interaction

with a law enforcement officer—for example, to report information as a victim or eyewitness to a

crime. And, in any event, courts in this Circuit frequently admit far more prejudicial evidence of

a defendant’s prior incarceration—not just a prior interaction with a law enforcement officer—

because otherwise admissible evidence does not become unfairly prejudicial merely because it

concerns a prior interaction with law enforcement. See, e.g., United States v. Faison, 393 F. App’x

754, 759 (2d Cir. 2010); United States v. Mauro, 80 F.3d 73, 76 (2d Cir. 1996); United States v.

Rosa, 11 F.3d 315, 334 (2d Cir. 1993); United States v. Yusufu, 63 F.3d 505, 511–12 (7th Cir.

1995); United States v. Johnson, 469 F. Supp. 3d 193, 219–20 (S.D.N.Y. 2019). Thus, disclosing




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the fact that the defendant had a prior extensive conversation with Officer Whelan—especially

when combined with appropriate limiting instructions—is not prejudicial.

       Furthermore, none of the case law cited by the defendant, see Def. Br. at 4–5, supports

suppression of Officer Whelan’s identification of the defendant here. While those cases discussed

the risks of undue prejudice caused by law enforcement identifications, most of them nevertheless

affirmed the admission of the officer’s identification, including United States v. Walker, 974 F.3d

193, 204–06 (2d Cir. 2020), the only case in this Circuit that the defendant cited to in his discussion

on the prejudice point. Indeed, several of the defendant’s cases, including Walker, support the

admission of Officer Whelan’s identification by establishing that law enforcement identifications

can be admitted where the testimony is highly probative, and the risks are appropriately managed

by the district court. See, e.g., Walker, 974 F.3d at 206 (affirming admission of identification

where “the probation officer’s identification testimony was highly probative, [] the record does

not appear to contain other adequate identification testimony” and the district court imposed

limitations such as not identifying the probation officer as a probation officer to mitigate the risk

of prejudice); United States v. Henderson, 68 F.3d 323, 326–27 (9th Cir. 1995) (affirming

admission of police officer’s identification of the defendant because the officer “had far more

opportunity than the jury to perceive [the defendant] from a variety of angles and distances and

under different lighting conditions” and was familiar with the defendant’s “carriage and posture”);

United States v. Pierce, 136 F.3d 770, 774 (11th Cir. 1998) (noting that “familiarity derived from

a witness’s close relationship to, or substantial and sustained contact with, the defendant weighs

heavily in favor of admitting the witness’s identification testimony”).8



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          Defendant cites two out-of-Circuit cases in which courts suppressed law enforcement
identifications of a defendant. But neither of these cases supports suppression here. United States
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       Similarly, the defendant broadly claims that his ability to cross-examine Officer Whelan

regarding the identification is hampered by the risk of potential prejudice from revealing the

criminal nature of the December 5, 2022 encounter. (Def. Br. at 4–5). But that is a strategic

decision for the defendant to make, not the basis for suppression. See Walker, 974 U.S. at 205–06

(affirming admission of a parole officer’s identification of defendant and suggesting that where

the Government had not elicited evidence that the identification was by the defendant’s parole

officer, the defendant was free to cross-examine the parole officer about the nature of their

relationship (and thereby reveal that the defendant had been on parole) but chose not to as a matter

of strategy).   Moreover, courts in this District have repeatedly admitted law enforcement

identifications of a defendant. See, e.g., Brown, 2022 WL 5189661, at *2; Stephenson, 2021 WL

4972601, at *2; Woodford, 2019 WL 5457854, at *7–*13. Presumably, the defendants there had

sufficient opportunity to vigorously cross-examine those identifying law enforcement officers. So

too here.

       Thus, the admission of Officer Whelan’s December 5, 2022 interaction with the defendant

in a neutral, limited manner is not unduly prejudicial, especially where combined with an

appropriate limiting instruction from the Court not to draw any improper inferences from the




v. Calhoun, 544 F.2d 291, 296 (6th Cir. 1976), appears to be an outlier that has been criticized by
four other Circuit courts, see United States v. Pace, 10 F.3d 1106, 1114-15 (5th Cir. 1993)
(rejecting Calhoun and collecting cases from the Fourth, Eighth, and Ninth Circuit Courts of
Appeals that have similarly rejected Calhoun). Moreover, the Second Circuit, in Walker, explicitly
cited Calhoun in its prejudice discussion but ultimately did not follow Calhoun and instead
affirmed the admission of the probation officer’s identification of the defendant. Walker, 974 F.3d
at 205-06. United States v. LaPierre, 998 F.2d 1460 (9th Cir. 1993) is also inapplicable here. The
LaPierre court found that the admission of an investigating police officer’s identification of the
defendant was reversible error, in part because that officer “not only did not know [the defendant]
[but] he had never even seen him in person,” id. at 1465, which stands in stark contrast to Officer
Whelan’s nearly half-hour long, sustained, in-person interaction with the defendant.
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interaction or to speculate about its nature. The Court should deny the defendant’s request to

preclude Officer Whelan’s identification of the defendant.

       C. The Defendant Fails to Identify Any Basis to Preclude Any In-Court Identification
       of the Defendant by Any Other Government Witnesses

       Finally, the defendant moves to preclude any other Government witnesses, including “any

witness to the robbery,” Def. Br. at 6, from identifying the defendant in court. The defendant also

argues that, to the extent any witness attempts to identify the defendant for the first time at trial—

without any previous identification of the defendant prior to trial—the Court should take steps to

limit the in-court identification. The Court should deny both requests.

       First, where a witness has previously identified the defendant outside of court, it is neither

inherently unconstitutional nor improperly suggestive, as the defendant argues, to have the same

witness identify the defendant in court. The defendant has moved to preclude, and the Government

has addressed above, Officer Whelan’s identification of the defendant. See supra at 8–20. The

Government reserves the right to call other witnesses who have previously identified the

defendant, and to provide appropriate notice of those witnesses’ testimony prior to trial—

including, as relevant here, any employees of the multiple deli stores that the defendant robbed

between 2021 and 2023. To the extent the defendant takes issue with those witnesses’ testimony,

the circumstances under which those witnesses previously identified the defendant, or those

witnesses’ ability to identify the defendant in court, the defendant can move at that time to preclude

their testimony. To the extent the defendant seeks a preemptive ruling prohibiting any other

witnesses from identifying the defendant in court unless compelled to participate in a pre-trial

identification process dictated by the defendant, that request should be denied. See United States

v. Anglin, 169 F.3d 154, 161 (2d Cir. 1999) (“If [the defendant] means to invite us to depart from


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that line of authority and declare a per se rule requiring identification by lineup whenever a suspect

is in custody, we decline the invitation.”).

       The defendant’s reliance on United States v. Archibald as grounds for prohibiting any other

in-court identification of the defendant is equally misplaced. In Archibald, the Second Circuit

dealt not with an in-court identification preceded by a pre-trial identification, as relevant here, but

of an in-court “show-up”—i.e., a witness who identified the defendant for the first and only time

at trial. United States v. Archibald, 734 F.2d 938 (2d Cir. 1984), modified and reh’g denied, 756

F.2d 223 (2d Cir. 1984). So-called “show-ups” can “frequently be ‘so clearly suggestive as to be

impermissible.’” Samuels v. Senkowski, 77 F. App’x 69, 71 (2d Cir. 2003) (quoting Archibald,

734 F.2d at 942). Nevertheless, “[e]ven an identification at trial under circumstances that are

tantamount to a showup is ‘not per se inadmissible, but rather depend[s] upon the ‘totality of the

circumstances.’’” United States v. Matthews, 20 F.3d 538, 547 (2d Cir. 1994) (alteration in

original) (quoting Archibald, 734 F.2d at 942). “Where no improper law enforcement activity is

involved, . . . it suffices to test reliability through the rights and opportunities generally designed

for that purpose, notably, the presence of counsel at post indictment lineups, vigorous cross-

examination, protective rules of evidence, and jury instructions on both the fallibility of eyewitness

identification and the requirement that guilt be proved beyond a reasonable doubt.” Perry, 565

U.S. at 232–33 (“We have not extended pretrial screening for reliability to cases in which the

suggestive circumstances were not arranged by law enforcement officers. . . Our decisions,

however, turn on the presence of state action . . .”). Archibald does not provide a basis for the

defendant to seek a blanket ruling prohibiting any in-court identification of the defendant. And,

whether permissible or otherwise, the Government does not presently intend, as relevant here, to




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offer any testimony that would amount to an in-court “show-up”—i.e., testimony where a witness

identifies the defendant for the first time at trial. That request should therefore be denied.

       Finally, the defendant appears to argue that, in the event the Court intends to permit any

in-court identification of the defendant, the Government should be required to conduct a pre-trial

line-up, and the Court should seat the defendant among “other Black males of similar physical

description” prior to any in-court identification. Def. Br. at 7. That request should also be denied.

“The defendant has no constitutional right to a line-up, and the decision whether to grant one is a

matter for the exercise of discretion by the trial court.” Sims, 867 F.2d at 145 (collecting cases).

Contrary to the defendant’s assertion, Archibald does not require the Court to institute either

procedure in the event of any in-court identification. Instead, Archibald is limited to an in-court

identification of the defendant that is both not preceded by an out-of-court identification, and

which is otherwise “so unreliable that a very substantial likelihood of irreparable misidentification

exists.” Sims at 145 (internal citations and quotations omitted) (collecting cases). However,

“[s]hort of that point, such evidence is for the jury to weigh.” Brathwaite, 432 U.S. at 116; see

also Watkins v. Sowders, 449 U.S. 341, 348 (1981) (“While identification testimony is significant

evidence, such testimony is still only evidence . . .”) (quoting Brathwaite at 114 n.14). The

defendant’s assertions to the contrary are without merit and should be rejected.




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                                       CONCLUSION
      For the reasons set forth above, the defendant’s motions in limine should be denied.

Dated: New York, New York
       November 27, 2023
                                                        Respectfully submitted,

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